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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA                        )
                                                )      8:06CR383
                    Plaintiff,                  )
                                                )
      vs.                                       )      DETENTION ORDER
                                                )
LUIS CASTELLANOS-ORTIZ,                         )
                                                )
                    Defendant.                  )

A. Order For Detention
   After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail Reform
   Act on January 24, 2007, the Court orders the above-named defendant detained
   pursuant to 18 U.S.C. § 3142(e) and (i).

B. Statement Of Reasons For The Detention
   The Court orders the defendant’s detention because it finds:
     X By a preponderance of the evidence that no condition or combination of
         conditions will reasonably assure the appearance of the defendant as required.
    X    By clear and convincing evidence that no condition or combination of conditions
         will reasonably assure the safety of any other person or the community.

C. Finding Of Fact
   The Court’s findings are based on the evidence which was presented in court and that
   which was contained in the Pretrial Services Report, and includes the following:
     X (1) Nature and circumstances of the offense charged:
           X     (a) The crime: interstate travel in aid of distribution of drug trafficking
                     proceeds (Count I) in violation of 18 U.S.C. § 1952(a)(1) carries a
                     maximum sentence of 5 years imprisonment; possession of firearms
                     by an illegal alien (Count II) in violation of 18 U.S.C. § 922(g)(5)(A)
                     carries a maximum sentence of ten years imprisonment; and a
                     criminal forfeiture of $97,000 (Count III) and three firearms (Count
                     IV) in violation of 28 U.S.C. § 246 and 18 U.S.C. §§ 924(d),
                     981(a)(1)(C), 1956(c)(7)(A) and 1961(1).
                 (b) The offense is a crime of violence.
                 (c) The offense involves a narcotic drug.
                 (d) The offense involves a large amount of controlled substances, to wit:
         (2) The weight of the evidence against the defendant is high.
     X (3) The history and characteristics of the defendant including:
                 (a) General Factors:
                               The defendant appears to have a mental condition which
                               may affect whether the defendant will appear.
                       X       The defendant has no family ties in the area.
                       X       The defendant has no steady employment.
                       X       The defendant has no substantial financial resources.
                       X       The defendant is not a long time resident of the community.
                       X       The defendant does not have any significant community
                               ties.
                               Past conduct of the defendant:
                               The defendant has a history relating to drug abuse.
                               The defendant has a history relating to alcohol abuse.
                               The defendant has a significant prior criminal record.
                               The defendant has a prior record of failure to appear at
                               court proceedings.
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                  (b) At the time of the current arrest, the defendant was on:
                               Probation
                               Parole
                               Release pending trial, sentence, appeal or completion of
                               sentence.
                  (c) Other Factors:
                        X      The defendant is an illegal alien and is subject to
                               deportation.
                               The defendant is a legal alien and will be subject to
                               deportation if convicted.
                        X      The Bureau of Immigration and Custom Enforcement
                               (BICE) has placed a detainer with the U.S. Marshal.
                               Other:

      X    (4) The nature and seriousness of the danger posed by the defendant’s
               release are as follows: the nature of the charges in the Indictment.


D. Additional Directives
   Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:
         1. The defendant be committed to the custody of the Attorney General for
              confinement in a corrections facility separate, to the extent practicable from
              persons awaiting or serving sentences or being held in custody pending
              appeal; and
         2. The defendant be afforded reasonable opportunity for private consultation
              with counsel; and
         3. That, on order of a court of the United States, or on request of an attorney
              for the government, the person in charge of the corrections facility in which
              the defendant is confined deliver the defendant to a United States Marshal
              for the purpose of an appearance in connection with a court proceeding.

DATED:     January 24, 2007.              BY THE COURT:
                                          s/Thomas D. Thalken
                                          United States Magistrate Judge
